Case 2:05-cr-20075-SH|\/| Document 66 Filed 08/23/05 Page 1 of 2 P’age|D 72

 

IN THE UNITED sTATES DISTRICT coURT "LEE By D'°'
FoR THE WESTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 aug 23 FH 3= |8
_H'DM°S M. GOULD
UNITED STATES oF AMERICA U-EKL'.S._Q£S{F{§CTCGBT
/D GF lf~;', =-.::MPPHS
vs. cR. No. 05-20075-Ma

MARIO PARSON ,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Before the court is defendant's August 18, 2005, motion
requesting continuance of the report date set August 26, 2005. The
continuance is necessary due to the absence of defendant's counsel.

The Court grants the motion and continues the trial date to
the criminal rotation calendar beginning October 3, 2005, With a
report date of September 22, 2005, at 10:00 a.m.

The period from September 16, 2005, through October 14, 2005,
is excluded under 18 U.S.C. § 316l(h)(8)(B)(iv) to provide for
continuity of counsel and to allow additional time to prepare.

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IT IS SO ORDERED this the day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DIS‘I‘RICT JUDGE

 

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This notice confirms a copy of the document docketed as number 66 in
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Honorable Samuel Mays
US DISTRICT COURT

